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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 In re:                                                     Chapter 7

 ALEXANDER E. JONES,
                                                            Case No. 22-33553 (CML)
                  Debtor.




                CONNECTICUT FAMILIES’ OPPOSITION TO MOTION FOR
                   LEAVE TO INTERVENE BY ROBERT WYN YOUNG

          Non-party Robert Wyn Young moves to intervene in this proceeding in order “to present

evidence to the Court of a fraudulent judgment giving rise to the instant Chapter 7 bankruptcy.”

Dkt. 1120 at 1. Mr. Young’s motion should be denied.

          Courts assessing motions for permissive intervention under Rule 2018(a), like the motion

here, consider: (1) whether the intervenor has an economic or similar interest in the manner, (2)

the ability of the intervenor to protect its rights, (3) the adequacy of representation of the

intervenor’s interests by existing parties, and (4) whether intervention will cause undue delay in

the proceedings. In re Adilace Holdings, Inc., 548 B.R. 458, 462–63 (Bankr. W.D. Tex. 2016).

Even if all elements are met, permission to intervene is still wholly discretionary and may be

denied. Id. But none of the elements is met here.

          First, Young identifies no economic or similar interest in this matter. His only stated

interests are defending the integrity of the judicial system and the United States Constitution.

Dkt. 1120 at 9. Courts regularly deny intervention by parties seeking only to represent abstract

public interests. See, e.g., In re Ionosphere Clubs, Inc., 101 B.R. 844, 850. 853 (Bankr.

S.D.N.Y. 1989) (denying motion to intervene by consumer protection advocacy organization).
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And Young’s allegations of fraudulent collusion in the Connecticut state court proceedings

represent yet more collateral attacks on the Connecticut judgment that, as this Court has ruled,

are not properly addressed in this forum. See Adv. Proc. No. 23-03037, Dkt. 76 at 12, 18–19.

       Second, Young identifies no reason why he cannot protect any claimed rights in other

respects. He has already established a website to publicize these issues. See “Operation

Madcap: Exposing Alex Jones; Capitulation & Betrayal in the Connecticut Sandy Hook Cases,”

https://www.alwayswyn.com/operation-madcap; “Support Attorney R Wyn Young Ohio Bar

64876,” GiveSendGo, https://www.givesendgo.com/wyn-young.

       Third, Young’s supposed interests are well represented by existing parties. Young claims

that he must intervene to challenge the “fraudulent” Connecticut judgment, including because it

was a “treasonous conspiracy to undermine or destroy our 1st and 2nd Amendments.” Motion at

5–6. But Mr. Jones and his counsel have shown that they can challenge the Connecticut

judgment, including based on collateral Constitutional attacks, all by themselves. See, e.g., Case

No. 23-03037, Dkt. No. 127 (Jones’s 78-page motion for reconsideration).

       Fourth, to the extent that permitting intervention would achieve anything at all, it would

be to “cause undue delay in the proceedings.” See Adilace, 548 B.R. at 462–63.

       For these reasons, the motion should be denied.




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Dated: April 8, 2025


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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument was filed and served on

all persons entitled to receive notice via operation of this Court’s CM/ECF system on April 8,

2025.


                                             /s/ Ryan E. Chapple_________
                                             Ryan E. Chapple




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                           CERTIFICATE OF WORD COUNT

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Dated: April 8, 2025

                                           /s/ Ryan E. Chapple_________
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